               Case 2:21-cv-01384-RSL Document 6 Filed 10/15/21 Page 1 of 3




 1                                                                         Honorable Robert S. Lasnik

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 7                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   LISA ABELES,
                                                           No. 2:21-cv-01384-RSL
10                       Plaintiffs,
                                                          NOTICE OF APPEARANCE
11   v.
12   PUGET SOUND COLLECTIONS, INC.;
     TRANS UNION LLC, a Delaware limited
13   liability company; and EQUIFAX
     INFORMATION SERVICES LLC, a Georgia
14   limited liability company,
15                      Defendants.
16

17   TO:    CLERK OF THE COURT; and
18
     TO:    Robert W. Mitchell, Attorney for Plaintiff
19
            PLEASE TAKE NOTICE that Seyfarth Shaw LLP, through its attorney Andrew R.
20
     Escobar, hereby appears in the above-captioned action as counsel of record for Defendant Equifax
21

22   Information Services LLC (“Equifax”). Defendant Equifax does not waive any objections as to

23   lack of subject matter jurisdiction, lack of personal jurisdiction, improper venue, insufficiency of

24   service of process, insufficiency of process, failure to state a claim upon which relief can be
25
     granted, or any other claim or defense, by this appearance of its attorney.
26
     NOTICE OF APPEARANCE - 1                                                       SEYFARTH SHAW LLP
     (NO. 2:21-cv-01384-RSL)                                                           999 Third Avenue
                                                                                           Suite 4700
                                                                                    Seattle, WA 98104-4041
                                                                                        (206) 946-4910
               Case 2:21-cv-01384-RSL Document 6 Filed 10/15/21 Page 2 of 3




 1
            Service of all further pleadings, notices, documents or other papers in this matter, exclusive
 2
     of original process, may be had upon said Defendant by serving the undersigned attorneys of record
 3

 4   at the address stated below.

 5          Respectfully submitted this 15th day of October, 2021.
 6                                                      SEYFARTH SHAW LLP
 7
                                                        By: s/ Andrew R. Escobar
 8
                                                            Andrew R. Escobar, WSBA No. 42793
 9                                                          escobar@seyfarth.com
                                                            SEYFARTH SHAW LLP
10                                                          999 Third Avenue, Suite 4700
                                                            Seattle, WA 98104-4041
11                                                          Tel: (206) 946-4910

12                                                          Attorney for Defendant
                                                            Equifax Information Services LLC
13

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26
                                                                                     SEYFARTH SHAW LLP
     NOTICE OF APPEARANCE - 2                                                           999 Third Avenue
                                                                                            Suite 4700
     (NO. 2:21-cv-01384-RSL)                                                         Seattle, WA 98104-4041
                                                                                         (206) 946-4910
               Case 2:21-cv-01384-RSL Document 6 Filed 10/15/21 Page 3 of 3




                                      CERTIFICATE OF SERVICE
 1          I hereby declare that on October 15, 2021, I caused a copy of Equifax Information

 2   Service’s Notice of Appearance to be electronically filed with the Court using the ECF system

 3   which will send notification of such filing to all counsel of record.

 4                          Robert Mitchell, Esq.
                            Robert Mitchell Attorney at Law, PLLC
 5                          1020 N. Washington St.
 6                          Spokane, WA 99201
                            bobmitchelllaw@gmail.com
 7                          Telephone: (509) 327-2224

 8
                            Benjamin I. VandenBerghe
 9                          Christopher M. Reed
                            Montgomery Purdue PLLC
10
                            5500 Columbia Center
11                          701 Fifth Avenue
                            Seattle, WA 98104-7096
12                          Telephone: 206-682-7090
                            biv@montgomerypurdue.com
13                          creed@montgomerypurdue.com
14
            DATED October 15, 2021.
15

16                                                 s/ Megan Johnston
17                                                 Megan Johnston, Legal Assistant
                                                   Seyfarth Shaw LLP
18                                                 999 Third Avenue, Suite 4700
                                                   Seattle, WA 98104
19                                                 mjohnston@seyfarth.com
20

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22

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24

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26   NOTICE OF APPEARANCE - 3                                                    SEYFARTH SHAW LLP
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                                                                                        Suite 4700
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